                             NUMBER 13-15-00576-CR

                              COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                      CORPUS CHRISTI - EDINBURG

GREGG BARTHELMAN,                                                               Appellant,

                                             v.

THE STATE OF TEXAS,                                                              Appellee.


                    On appeal from the 206th District Court
                          of Hidalgo County, Texas.


                                       ORDER
             Before Justices Rodriguez, Benavides, and Perkes
                             Order Per Curiam

        This cause is currently pending before the Court. On July 28, 2016, this Court

ordered the trial court clerk to forward the following original trial exhibits associated with

this appeal to this Court for its review and inspection: State’s Exhibits 29, 30, 33, 35, 36,

37, 38, 39, 40, 41, 44, 45, and 46. This Court received those exhibits on August 16,

2016.
       On August 24, 2016, the State filed a motion pursuant to Rule 34.6(g)(2) of the

Texas Rules of Appellate Procedure requesting that this Court supplement its previous

order and request State’s Exhibit 31, a USB drive. According to the State’s motion, the

contents of this exhibit “contains numerous photos germane to issues raised by the

[a]ppellant in his appeal.” Among several issues in his brief, appellant challenges the

sufficiency of the evidence for his convictions of promoting and possessing child

pornography.

       Accordingly, we GRANT the State’s motion and order the trial court clerk to forward

State’s Exhibit 31 in trial court cause number CR-2182-14-D to this Court within ten days

from the date of this order.

       IT IS SO ORDERED.

                                                                     PER CURIAM


Do not publish.
TEX. R. APP. P. 47.2(b).

Delivered and filed the
2nd day of September, 2016.




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